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 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK

                                                                 :
 In re:                                                          :
                                                                 :
 The Roman Catholic Diocese of Syracuse, New York,               : Chapter 11
                                                                 :
                                Debtor.                          : Case No. 20-30633
                                                                 :
                                                                 :
                                                                 :

           NOTICE OF APPEARANCE, REQUEST FOR SERVICE OF PAPERS,
                        AND RESERVATION OF RIGHTS


          PLEASE TAKE NOTICE that Excelsior Insurance Company (“Excelsior”) and

General Insurance Company of America (“General Insurance”), by and through their

undersigned counsel, Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C. and Choate, Hall

& Stewart LLP, hereby appear pursuant to section 1109(b) of the United States Bankruptcy Code,

11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), and Rules 2002 3017(a), 9007 and 9010(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and respectfully request that

all notices given or required to be given in this case, and all papers served or required to be served

in this case, be given to and served upon the following:

                                Nancy D. Adams, Esq.
                               Grady R. Campion, Esq.
               MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO, P.C.
                                One Financial Center
                                 Boston, MA 02111
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                                  Douglas R. Gooding, Esq.
                                  Jonathan D. Marshall, Esq.
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                                     Tel.: (617) 248-5000
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                                    dgooding@choate.com
                                    jmarshall@choate.com

       PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, this request includes not only the notices and papers referred to in the

Bankruptcy Code and Rules specified above, but also includes, without limitation, all orders and

notices of any application, motion, petition, pleading, request, complaint or demand, statement of

affairs, operating reports, schedule of assets and liabilities, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, courier services, hand delivery,

telephone, electronic mail, facsimile transmission, or otherwise filed or made in regard to the

above-captioned matter.

      PLEASE TAKE FURTHER NOTICE that this notice of appearance and any subsequent

appearance, pleading, claim or suit is not intended nor shall be deemed to waive the rights of

Excelsior or General Insurance: (1) to have an Article III judge adjudicate in the first instance any

case, proceeding, matter, or controversy as to which a bankruptcy judge may not enter a final order

or judgment consistent with Article III of the United States Constitution; (2) to have final orders

in the non-core case, proceeding, matter, or controversy entered only after an opportunity to object

to proposed findings of fact and conclusions of law, and a de novo review by a federal district court

judge; (3) to trial by jury in any case, proceeding, matter, or controversy so triable; (4) to have the

reference withdrawn by the United States District Court in any case, proceeding, matter, or

controversy subject to mandatory or discretionary withdrawal; or (5) to assert or maintain any




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other rights, claims, actions, defenses, setoffs, or recoupments to which Excelsior or General

Insurance is or may be entitled under agreements, in law, or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments expressly are hereby reserved. For the avoidance of

doubt, filing this notice is not intended as, and shall not be, consent by Excelsior or General

Insurance to the entry of final orders or judgments in any case, proceeding, matter, or controversy,

if it is determined that the Court, absent consent of Excelsior or General Insurance, cannot enter

final orders or judgments in any such case, proceeding, matter, or controversy, as applicable,

consistent with Article III of the United States Constitution.

Dated: March 10, 2021

                                              MINTZ, LEVIN, COHN, FERRIS,
                                              GLOVSKY AND POPEO, P.C.



                                              Nancy D. Adams (pro hac vice forthcoming)
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                                              -and-

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                                              General Insurance Company of America



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